                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF ALASKA


ANDREU TOBIAS,
                             Plaintiff,
                  v.                             Case No. 4:19-cv-00028-TMB
FAIRBANKS POLICE,
                             Defendant.


                               ORDER OF DISMISSAL

         On August 16, 2019, self-represented litigant, Andreu Tobias, filed a Pro Se

Complaint, along with a Civil Cover Sheet, and an Application to Waive the Filing

Fee. 1 The Court issued a Screening Order on September 23, 2019, identifying

deficiencies in Mr. Tobias’s complaint and instructing him to either file an Amended

Complaint or a Notice of Voluntary Dismissal by October 24, 2019. Specifically

the Court cautioned: “If Mr. Tobias does not file either an Amended Complaint or

a Notice of Voluntary Dismissal on the Court form by October 24, 2019, this case

will be DISMISSED[.]”

         Mr. Tobias has neither filed an Amended Complaint, nor a Notice of

Voluntary Dismissal. Accordingly, Mr. Tobias’s complaint should be dismissed for

non-compliance with the Court’s screening order and failure to prosecute his case.




1   Docket 1-3.




           Case 4:19-cv-00028-TMB Document 6 Filed 10/30/19 Page 1 of 2
      Therefore, this case is DISMISSED. All pending motions are DENIED AS

MOOT. The Clerk of Court is directed to enter a judgment.

      IT IS SO ORDERED.

DATED at Anchorage, Alaska this 29th day of October, 2019.

                                                /s/ Timothy M. Burgess
                                                TIMOTHY M. BURGESS
                                                United States District Judge




4:19-cv-00028-TMB, Tobias v. Fairbanks Police
Order of Dismissal
Page 2 of 2
         Case 4:19-cv-00028-TMB Document 6 Filed 10/30/19 Page 2 of 2
